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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN THE MATTER OF:                             :         MISCELLANEOUS
                                              :
EDWARD W. MILLSTEIN                           :         NO. 12-mc-0041


                               ORDER TO SHOW CAUSE

              AND NOW, this       25th       day of September, 2020, it appearing that

on July 27, 2020, respondent was suspended on consent from the practice of law by

the Supreme Court of Pennsylvania for a period of thirty (30) months, retroactive to May

1, 2019, it is hereby,

              ORDERED that respondent file with this court, within thirty (30) days from

the date of service of this Order, an answer informing this court of any claim by the

respondent, predicated upon the grounds set forth in Local Rule of Civil Procedure 83.6

II D, that the imposition of identical discipline by this court would be unwarranted, and

the reasons therefore.



                                              FOR THE COURT:




                                               /s/ Juan R. Sánchez
                                              _______________________
                                              JUAN R. SÁNCHEZ
                                              Chief Judge
